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                                   No. 23-10326
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                  IN THE UNITED STATES COURT OF APPEALS
                            FOR THE FIFTH CIRCUIT
                 _______________________________________________
                          BRAIDWOOD MANAGEMENT, INC., ET AL.,
                                           Plaintiffs-Appellees,
                                              v.

                                 XAVIER BECERRA, ET AL.,
                                           Defendants-Appellants


                   On Appeal from the United States District Court for the
                      Northern District of Texas, Fort Worth Division


    AMICI CURIAE BRIEF OF THE AMERICAN CANCER SOCIETY,
    AMERICAN CANCER SOCIETY CANCER ACTION NETWORK,
       AMERICAN KIDNEY FUND, ARTHRITIS FOUNDATION,
 CANCERCARE, CANCER SUPPORT COMMUNITY, CYSTIC FIBROSIS
       FOUNDATION, EPILEPSY FOUNDATION, HEMOPHILIA
FEDERATION OF AMERICA, LEUKEMIA AND LYMPHOMA SOCIETY,
   NATIONAL MINORITY QUALITY FORUM, NATIONAL PATIENT
       ADVOCATE FOUNDATION, THE AIDS INSTITUTE, AND
   WOMENHEART, SUPPORTING DEFENDANTS’ MOTION FOR A
      PARTIAL STAY OF FINAL JUDGMENT PENDING APPEAL




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                                  INTEREST OF AMICI1

         The American Cancer Society (ACS), American Cancer Society Cancer

Action Network (ACS CAN), American Kidney Fund (AKF), Arthritis Foundation,

CancerCare, Cancer Support Community (CSC), Cystic Fibrosis Foundation,

Epilepsy Foundation, Hemophilia Federation of America, Leukemia and Lymphoma

Society (LLS), National Minority Quality Forum (NMQF), National Multiple

Sclerosis Society, National Patient Advocate Foundation, The AIDS Institute, and

WomenHeart, (collectively, “amici”) are among the largest, most prominent

organizations representing the interests of patients, survivors, and families affected

by these chronic conditions. These conditions are frequently detected in early stages

by preventive services, including those recommended by the U.S. Preventive

Services Task Force (USPSTF) pursuant to the preventive care mandate of the

Patient Protection and Affordable Care Act (ACA), 42 U.S.C. § 300gg-13.

         Amici are dedicated to supporting patients and their families across the United

States. Collectively, we represent millions of individuals who suffer from the

respective diseases and conditions to which we dedicate our efforts. Amici’s

activities range from medical research to patient support and other services in



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        Counsel for each of the parties have consented to the filing of this brief. Amici certify that
this brief was authored in whole by counsel for amici and no part of the brief was authored by any
attorney for a party. No party, nor any other person or entity, made any monetary contribution to
the preparation or submission of this brief.
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support of curing, lessening the burden of, or otherwise minimizing the effects of

the various illnesses discussed herein. Collectively, amici bring decades of

experience to fighting these illnesses and advocating on behalf of patients.

         The fight against all of these diseases requires access to affordable, quality

health care and health insurance that includes preventive care. Amici desire to assist

the Court in understanding (1) why the USPSTF’s preventive care recommendations

and the agency actions implementing them are crucial for patients battling a wide

range of diseases, and (2) the immediate and devastating impact that impeding

access to preventive care will have for patients.

                               SUMMARY OF ARGUMENT

         All Americans use or will use health care services, and the lifetime risk that

individual Americans will contract one of the diseases or conditions towards which

amici direct our efforts is high. Preventive services can aid in prevention, early

detection and treatment of many diseases, which increases patients’ chances of

survival and extends life expectancies. Preventive care also helps control patients’

costs of treating these diseases and conditions.

         The ACA’s preventive services mandate, the USPSTF’s recommendations,

and the agency actions implementing those recommendations increase access to

preventive services that can prevent disease outright, identify illnesses early, and

reduce the physical and financial burdens of treating severe illnesses. Detecting

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severe diseases early allows for less invasive, more effective, and lower-cost

treatment options, and substantially improves patient outcomes.

         The U.S. District Court’s March 30 decision threatens to imminently and

drastically reduce insurance coverage of preventive services, deter utilization of

those services, and worsen patient outcomes. Without a stay, the District Court’s

order will substantially harm the patients amici serve and support.

                                     ARGUMENT

I.       ABSENT A STAY, THE DISTRICT COURT’S DECISION WILL
         IMMINENTLY HINDER PATIENT ACCESS TO CRITICAL
         PREVENTIVE CARE SERVICES
         The need for health care is difficult to predict, but practically inevitable at

some point in all Americans’ lives. See Nat. Fedn. of Indep. Business v. Sebelius,

132 S. Ct. 2566, 2610 (2012) (Ginsburg, J., concurring) (“Virtually every person

residing in the United States, sooner or later, will visit a doctor or other health-care

professional.”); see also id. at 2585 (Roberts, C.J.) (“Everyone will eventually need

health care at a time and to an extent they cannot predict.”). The ACA recognizes

that for the vast majority of Americans, accessing such necessary care requires

health insurance coverage.

         Thus, the ACA provides a framework for coverage that has withstood three

major legal challenges at the United States Supreme Court. This framework includes

insurance coverage for preventive services without cost sharing so that Americans


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will have greater access to such services, thereby preventing illnesses or catching

them early to more successfully treat them. The District Court’s ruling will have the

opposite effect. Whether insurers and employers choose to implement cost sharing

for preventive services or drop them altogether, many patients, especially low

income patients, will be forced to utilize preventive services less frequently, or not

at all. A review of 65 papers published from 2000-2017 found that “even relatively

small levels of cost sharing in the range of $1 to $5 are associated with reduced use

of care, including necessary services.” Samantha Argita et al., The Effects of

Premiums and Cost Sharing on Low-Income Populations: Updated Review of

Research          Findings,       Kaiser           Family       Foundation           (2017)

https://www.kff.org/medicaid/issue-brief/the-effects-of-premiums-and-cost-

sharing-on-low-income-populations-updated-review-of-research-findings/.

         For example, even with insurance, Cystic Fibrosis, Multiple Sclerosis, and

epilepsy patients have often experienced financial and emotional distress due to

medical expenses. The Importance of Cost and Affordability for People with CF,

Cystic Fibrosis Foundation (2022) https://www.cff.org/about-us/importance-cost-

andaffordability-people-cf; Make MS Medications Accessible, National Multiple

Sclerosis                                  Society                                   (2022)

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2013,          55       Epilepsy        &           Behavior         (Feb.          2016),

https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5317396/. Accordingly, patients

have resorted to foregoing tests, skipping medication doses, and delaying filling their

prescriptions. Such actions cause breakdowns in treatment and open the door for

disease progressions. In turn, patients face uncertain outcomes and experience

heightened anxiety. Id. Coverage of USPSTF recommendations without cost-

sharing means patients do not need to choose between paying for already-needed

treatments and trying to prevent additional illnesses.

         A survey conducted just before the District Court’s decision revealed that

three out of ten respondents had delayed or skipped healthcare within the last year,

largely due to income constraints. Ricky Zipp, Many Americans Are Likely to Skip

Preventive Care if ACA Coverage Falls Through, Moring Consult, (Mar. 8, 2023)

https://morningconsult.com/2023/03/08/affordable-care-act-polling-data/. Two out

of five respondents stated that they would not pay out of pocket for eleven out of

twelve preventive services included in the survey. Id. This data underscores the

damaging gap in patient care the District Court’s decision will open if permitted to

take effect.

         The ACA’s framework sought to increase use of preventive care by requiring

health insurers to cover USPSTF-recommended services with “A” and “B” grades

without cost sharing. Congress’s goal was to allow individuals greater access to

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evidence-based care as science evolves. Numerous USPSTF recommendations have

changed since the March 2010 cut-off designated by the District Court. For example,

before March 2010, the USPSTF recommended colorectal cancer screenings for

adults 50 and older. Final Recommendation Statement: Colorectal Cancer:

Screening,       U.S.      Preventive     Services          Task      Force         (2008)

https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/colorectal-

cancer-screening-2008. The current colorectal cancer screening recommendation

has reduced the screening age to 45 and added screening modalities not present in

and/or not yet developed at the time of the original recommendation. Final

Recommendation Statement: Colorectal Cancer: Screening, U.S. Preventive

Services                    Task                         Force                      (2021)

https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/colorectal-

cancer-screening.

         The USPSTF recommended lung cancer screenings in 2013 and updated its

recommendation in 2021. Final Recommendation Statement: Lung Cancer:

Screening,       U.S.      Preventive     Services          Task      Force         (2021)

https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/lung-

cancer-screening. The USPSTF developed its new recommendation based, in part,

on data from the National Lung Cancer Screening Trial (NLST). The NLST

provided direct evidence of moderate certainty that lung cancer screening in high-

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risk populations was effective in reducing lung cancer deaths. The National Lung

Screening Trial Research Team, Reduced Lung-Cancer Mortality with Low-Dose

Computed Tomographic Screening, N. Engl. J. of Med. (August 4, 2011)

https://www.nejm.org/doi/full/10.1056/nejmoa1102873.            These    screenings     are

essential to catching lung cancer early, when it is more treatable. The five-year

survival rate when lung cancer is diagnosed at an early stage is 61%, a stark contrast

to the 7% survival rate for late-stage diagnoses. Lung Cancer Key Findings,

American Lung Association (2022), https://www.lung.org/research/state-of-lung-

cancer/key-findings.

         Additionally, in February 2019, the USPSTF recommended counseling

interventions for pregnant and post-partum individuals at increased risk of perinatal

depression. U.S. Preventive Services Task Force, A & B Recommendations,

https://www.uspreventiveservicestaskforce.org/uspstf/recommendation-

topics/uspstf-a-and-b-recommendations. This care is crucial, as one in seven post-

partum individuals experience postpartum depression and anxiety disorders. Nellie

Garlow et al., Issue Brief: Societal Costs of Untreated Perinatal Mood and Anxiety

Disorders        in        the    United          States,      Mathmateica           (2019)

https://www.mathematica.org/publications/societal-costs-of-untreated-perinatal-

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         In 2019, over eight million American children aged 3-17 had a current,

diagnosed mental or behavioral health condition, the most common of which were

anxiety and depression. NSCH Data Brief: Mental and Behavioral Health, Health

Resources            and         Services                Administration             (2020)

https://mchb.hrsa.gov/sites/default/files/mchb/data-research/nsch-data-brief-2019-

mental-bh.pdf. In that year, over half of those children received treatment or

counseling from a mental health professional. Id. In October 2022, the USPSTF

recommended screenings for anxiety in children and adolescents aged 8-18. U.S.

Preventive Services Task Force, A & B Recommendations.

         Further, in July 2019, the USPSTF recommended Hepatitis B Virus (HBV)

screenings for pregnant individuals at their first prenatal visit, and HBV screening

for adolescents and adults at increased risk for infection in December 2020. U.S.

Preventive Services Task Force, A & B Recommendations. These screenings are

crucial because chronic HBV has been shown to cause liver cancer and increase risk

of non-Hodgkin lymphoma. American Cancer Society, Cancer Prevention & Early

Detection Facts & Figures, Atlanta: American Cancer Society (2022)

https://www.cancer.org/content/dam/cancer-org/research/cancer-facts-and-

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         There are additional examples of the USPSTF has updating recommendations

made prior to March 23, 2010. Notably, in August 2022, the USPSTF recommended

use of statins for adults aged 40-75 with one or more risk factors for cardiovascular

disease. Id. In August 2018, the USPSTF recommended cervical cancer screening,

at either three or five-year intervals, for women aged 21-65. Final Recommendation

Statement: Cervical Cancer: Screening, U.S. Preventive Task Force (2018)

https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/cervical-

cancer-screening. This update to the 2003 recommendation added the option for

HPV testing and information regarding specific testing modalities and intervals. Id.

         In March 2020, the USPSTF updated its Hepatitis C Virus screening

recommendation. Final Recommendation Statement: Hepatitis C Virus Infection in

Adolescents and Adults: Screening, U.S. Preventive Services Task Force (2020)

https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/hepatitis-c-

screening. The new version “incorporates new evidence” and “expands the ages for

screening to all adults from 18-79 years.” Id. In June 2019, the USPSTF added HIV

screening and treatment recommendations, leading to an extension of mandatory

screening coverage to adolescents and adults aged 15-65, adolescents and adults at

increased risk of infection, and pregnant individuals. Final Recommendation

Statement: Human Immunodeficiency Virus (HIV) Infection: Screening, U.S.

Preventive             Services               Task            Force               (2019)

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https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/human-

immunodeficiency-virus-hiv-infection-screening. It simultaneously extended PrEP

coverage to individuals at high risk of HIV acquisition. Final Recommendation

Statement: Prevention of Human Immunodeficiency Virus (HIV) Infection:

Preexposure     Prophylaxis,   U.S.   Preventive   Services   Task   Force     (2019)

https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/prevention-

of-human-immunodeficiency-virus-hiv-infection-pre-exposure-prophylaxis. These

recommendations are especially important because many people experience no

symptoms of HIV infection, meaning the only way to identify an infection and

prevent the spread of HIV is to test/screen. About HIV, Centers for Disease Control

and Prevention (2022) https://www.cdc.gov/hiv/basics/whatishiv.html.

         Over 150 million individuals in the U.S. have health insurance coverage

subject to the ACA’s preventive services requirement and receive preventive

services recommended by the USPSTF cost-free. Office of Health Policy: Assistant

Secretary for Planning and Evaluation, Access to Preventive Services without Cost-

Sharing: Evidence from the Affordable Care Act, 8. A recent study found that six

out of eight privately insured American adults, roughly 100 million people, received

some form of ACA preventive healthcare in 2018. Krutika Amin, et al., Preventive

Services Use Among People with Private Insurance Coverage, Kaiser Family

Foundation (Mar. 20, 2023) https://www.healthsystemtracker.org/brief/preventive-

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services-use-among-people-with-private-insurance-

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ource=hs_email#Share%20of%20privately%20insured%20enrollees%20receiving

%20preventive%20care,%202018.

         In 2018, 61% of individuals covered by large employers, 57% of those

covered by small employers, and 55% of those in the individual insurance market

received ACA preventive care. Further, seven out of ten American children received

ACA preventive services in 2018. Id. Among the most utilized services were

screenings for heart disease, cervical cancer, and diabetes, all of which the USPSTF

updated recommendations for after March 23, 2010. Krutika Amin et al., Preventive

Services Use Among People with Private Insurance Coverage; U.S. Preventive

Services Task Force, A & B Recommendations.

         The District Court’s decision to vacate all agency actions taken to implement

the USPSTF’s recommendations since the enactment of the ACA, and to enjoin

enforcement of all future recommendations will allow insurers to either drop

preventive care coverage altogether or to re-introduce cost sharing for all preventive

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services. Group and individual health plans typically operate on a calendar year

basis, but a significant minority operate on academic or fiscal years. This variety,

and some insurers’ ability to change services covered mid-year, means that patients’

loss of cost-free preventive care coverage is imminent. Furthermore, based on the

District Court’s decision, certain employers are likely to drop some of the more

costly preventive services or impose cost sharing on such services in the near future.

         Since March 23, 2010, the USPSTF has recommended lifesaving “A” and “B”

screenings and treatments for a wide array of diseases and conditions, including

those which amici seek to eradicate. These recommendations and their

implementation have reduced financial barriers to preventive care services,

increased utilization of those services, and saved and prolonged lives. The District

Court’s decision threatens to erect formidable financial barriers to these critical

services and reverse over a decade’s worth of progress in improving health

outcomes. Without a stay, millions of Americans, including those amici serve and

support, will imminently struggle to access current, evidence-based preventive care

services.

                                  CONCLUSION

         For the foregoing reasons, amici respectfully submit that this Court should

grant the Appellants’ Motion for Partial Stay of Judgment Pending Appeal. The




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ACA’s preventive care mandate and the USPSTF’s recommendations have saved

lives and should continue to do so.

                                               Respectfully submitted,

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                              CONSENT DECREE

        I certify that counsel for Amici conferred with counsel for Appellants and
Appellees regarding the relief requested in this motion, and no party opposes the
relief requested.

                                               /s/ Beth Petronio
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                           CERTIFICATE OF SERVICE

      I certify that a copy of this brief was served, via the Court’s CVM/ECF
Document Filing System, on all counsel of record who have appeared in this case on
April 28, 2023. I further certify that a copy of this brief was served on Christopher
M. Lynch, counsel for U.S. Department of Justice, via United States mail.

                                               /s/ Beth Petronio
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                       CERTIFICATE OF COMPLIANCE

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